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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                  Case No. 4:13-cr-00091 KGB

OSCAR ALBERTO MORENO-VALOIS and
FERNANDO SALGADO                                                                 DEFENDANTS

                                             ORDER

       Before the Court is the government’s motion for permission to contact jurors pursuant to

Local Rule 47.1 of the Eastern District of Arkansas (Dkt. No. 87). Defendant Oscar Alberto

Moreno-Valois has responded to the motion (Dkt. No. 90). Counsel for defendant Fernando

Salgado has indicated that he has no objection to the motion.

       On February 4, 2015, the jury returned guilty verdicts on the lesser offense of Count 1 of

the Indictment as to defendants Oscar Alberto Moreno-Valois and Fernando Salgado. The

government requests that the Court direct the Clerk of the Court to contact the jurors by letter to

determine their willingness to be contacted further by the government. The government also

requests that the Court allow the government to contact jurors who are willing to speak with the

government.    In his response, Mr. Moreno-Valois indicates that he also would like to ask

questions of jurors who are willing to be contacted. Mr. Moreno-Valois requests that the parties

inform the Court of what questions they propose to ask the jurors and that the Court ask the

jurors if they are willing to answer those questions.

       To the extent that the government requests that the Clerk of the Court contact the jurors

by letter to determine their willingness to be contacted further by counsel for the parties, the
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Court grants the government’s motion (Dkt. 87). The Court directs the Clerk of the Court to

contact the jurors to determine their willingness to be contacted by counsel for the parties.

       To the extent that the government and Mr. Moreno-Valois wish to ask questions of jurors

who are willing to be contacted, the Court grants the government’s motion and Mr. Moreno-

Valois’s request, subject to the following conditions: Counsel for the parties shall confer and

submit to the Court within 14 days of the entry of this Order, for the Court’s review and

approval, questions they agree upon asking those jurors who are willing to be contacted.

Furthermore, within 14 days of the entry of this Order, counsel for the parties also shall submit

for the Court’s review questions on which counsel do not agree, but that each counsel would ask,

if permitted by the Court to do so. Upon receiving these proposed questions, the Court will

determine the method for juror contact and which questions may be asked.

       SO ORDERED this 7th day of April, 2015.



                                                            _______________________________
                                                            Kristine G. Baker
                                                            United States District Judge




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